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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

COREY STEELE,                                )
    Plaintiff,                               )
vs.                                          )      No. 3:19-CV-1679-N-BH
                                             )
UNICON GROUP, et al.,                        )
     Defendants.                             )      Referred to U.S. Magistrate Judge

              ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE

       After reviewing all relevant matters of record in this case, including the Findings,

Conclusions, and Recommendation of the United States Magistrate Judge and any objections

thereto, in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge is of the

opinion that the Findings and Conclusions of the Magistrate Judge are correct and they are

accepted as the Findings and Conclusions of the Court.

       The Defendant Judge Monica Purdy’s Rule 12 Motion to Dismiss, Alternative Motion for

Abstention and Brief in support, filed October 3, 2019 (doc. 31), is GRANTED. By separate

judgment, the plaintiff’s official capacity claims against defendant Judge Monica Purdy will be

DISMISSED without prejudice for lack of subject matter jurisdiction, and any claims against

her in her individual capacity, as well as any claim for ethics and disciplinary committee review,

will be DISMISSED with prejudice for failure to state a claim.

       SIGNED this 11th day of September, 2020.



                                             ________________________________
                                             UNITED STATES DISTRICT JUDGE
